Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 1 of 38 PageID# 1140



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division


  J.E.C.M., a minor, by and through his next friend
      JOSE JIMENEZ SARAVIA,et al..

                 Plaintiffs/Petitioners,

                                                                 l:18-cv-00903(LMB/MSN)

  SCOTT LLOYD,Director, Office of Refugee
      Resettlement, et al..

                 Defendants/Respondents.

                                    MEMORANDUM OPINION


        Plaintiffs/petitioners ("plaintiffs") in this putative class action' are four minors from

 Central America designated as "unaccompanied alien children" who are, or who have been, in

 the custody ofthe Office of Refugee Resettlement("ORR")and the four sponsors who filed

 family reunification applications on their behalf. Defendants/respondents("defendants")^ are the
 minors' custodians and the officials responsible for administering ORR's policies with respect to

 the detention and release of unaccompanied minors. Plaintiffs allege that defendants' policies

 violate constitutional, statutory, and administrative law, and they seek declaratory and habeas

 relief as well as attorney's fees and costs. Before the Court is defendants' motion to dismiss for




 'Plaintiffs have filed two motions for class certification [Dkt. Nos. 5 and 28]. The Court has
  stayed both motions[Dkt. No.20] pending resolution of defendants' motion to dismiss.
  2 Defendants are Scott Lloyd, Director of ORR;Jonathan White, Deputy Director of ORR;
  Natasha David, ORR Federal Field Specialist; Alex Azar, Secretary ofthe Department of Health
  and Human Services; Steven Wagner, Acting Assistant Secretary for the Administration for
  Children and Families; Johnitha McNair, Executive Director ofthe Northern Virginia Juvenile
  Detention Center; Timothy Smith, Executive Director ofthe Shenandoah Valley Juvenile
  Detention Center; and Gary L. Jones, Chief Executive Officer of Youth for Tomorrow.
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 2 of 38 PageID# 1141
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 3 of 38 PageID# 1142
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 4 of 38 PageID# 1143
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 5 of 38 PageID# 1144
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 6 of 38 PageID# 1145
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 7 of 38 PageID# 1146
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 8 of 38 PageID# 1147
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 9 of 38 PageID# 1148
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 10 of 38 PageID# 1149
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 11 of 38 PageID# 1150
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 12 of 38 PageID# 1151
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 13 of 38 PageID# 1152
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 14 of 38 PageID# 1153
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 15 of 38 PageID# 1154
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 16 of 38 PageID# 1155
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 17 of 38 PageID# 1156
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 18 of 38 PageID# 1157
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 19 of 38 PageID# 1158
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 20 of 38 PageID# 1159



  sought in the first place, amounts to such a restraint on their liberty that they remain in "custody"

  under § 2241.

          Finally, plaintiffs rely on the "particular traits ofcivil class actions" as they relate to

  justiciability principles,    Sanchez-Gomez. 138 S. Ct. at 1538, arguing that their putative class

  claims change the mootness calculus. To be sure, a defendant cannot nullify a putative class

  action by strategically "picking off named plaintiffs' claims while a class certification motion is

  pending.      Pis.' Opp'n 8 (citing Wilson v. Gordon. 822 F.3d 934,947-51 (6th Cir. 2016)).

  Similarly, certain claims by their nature are so "inherently transitory" that class claims remain

  justiciable even if the underlying individual claims become moot before the court can rule on

  class certification. Id at 10(citing U.S. Parole Comm'n v. Geraghtv. 445 U.S. 388,399(1980)).

  Courts in this district have recognized as much,^Revna v. Hott. No. 1:17-cv-01192, 2018 WL

  3551558, at *3(E.D. Va. Mar. 20, 2018), and defendants offer no objection,             Defs.' Reply 2

  n.l (recognizing "that the pending class action claims do not automatically become moot because

  these individuals' claims have become moot"). But neither doctrine saves individual claims from

  being mooted. Here,the three minor plaintiffs who have been released and the three sponsors to

  whom they have been released received the relief they sought in this litigation; they no longer

  possess the requisite stake to press their individual claims. Accordingly, the Court will grant

  defendants' motion to dismiss as to individual claims advanced by J.E.C.M., Jimenez Saravia,

  R.A.I., Alvarado, K.T.M., and Velasquez Trail.

              2. Ripeness

          On the reverse side of the justiciability coin, defendants argue that B.G.S.S.'s and

  Jeronimo Sis's claims are not ripe. In defendants' view, the only Article III injury that could

  sustain their challenge to ORR's policies would be an outright denial of Jeronimo Sis's family

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Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 21 of 38 PageID# 1160
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 22 of 38 PageID# 1161
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 23 of 38 PageID# 1162
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 24 of 38 PageID# 1163
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 25 of 38 PageID# 1164
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 26 of 38 PageID# 1165
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 27 of 38 PageID# 1166
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 28 of 38 PageID# 1167
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 29 of 38 PageID# 1168
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 30 of 38 PageID# 1169
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 31 of 38 PageID# 1170
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 32 of 38 PageID# 1171
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 33 of 38 PageID# 1172
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 34 of 38 PageID# 1173
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 35 of 38 PageID# 1174
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 36 of 38 PageID# 1175
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 37 of 38 PageID# 1176
Case 1:18-cv-00903-LMB-MSN Document 60 Filed 11/15/18 Page 38 of 38 PageID# 1177
